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 3 (209) 544-0200 Phone / (209)544-1860 Fax
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 5
 6 Attorney for Defendant
   ESPIRIDION VALDOVINOS LUCATERO
 7
 8                               UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                             No. 05-0443 WBS
12                          Plaintiff.                     STIPULATION AND ORDER TO
13                                                         CONTINUE STATUS CONFERENCE
     vs.                                                   FOR ALL DEFENDANTS
14
15   ESPIRIDION VALDOVINOS LUCATERO,

16                          Defendant.

17
18          IT IS HEREBY STIPULATED by and between defendants ESPIRIDION VALDOVINOS
19 LUCATERO, JESUS JAVIER HUILTRON SANCHEZ, FRANCISCO PEREZ LUCATERO, AND
20 NARCISO GALLEGOS MORALES, through their attorneys, ROBERT L. FORKNER, PETER
21 KMETO, ESQ., PRECILIANO MARTINEZ AND Federal Defender DANIEL BRODERICK,
22 respectively, and plaintiff United States of America, through its counsel of record, Assistant United
23 States Attorney SAMUEL WONG, stipulate and agree to the following:
24         1.     The presently scheduled status conference date of September 13, 2006, at 9:00
25 a.m., shall be vacated for all defendants and be rescheduled for further status conference on October
26 11, 2006 at 9:00 a.m.
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 1         2.       The reason for the requested continuance of the status conference is that Mr. Forkner,
 2 counsel for defendant ESPIRIDION VALDOVINOS LUCATERO, is and will be in a long cause
 3 prelim involving twenty co-defendants where his client is scheduled to testify on Wednesday,
 4 September 13, 2006 and is unavailable for a status conference on September 13, 2005, as it is
 5 described in the accompanying Declaration of ROBERT L. FORKNER.
 6         3.       Time from the date of this stipulation to, and including, the proposed October 11,
 7 2006, status conference shall be excluded from computation of time within which the trial of this
 8 matter must be commenced under the Speedy Trial Act pursuant to 18 U.S.C. § 3161 (h) (8) (A) and
 9 (B) (iv) and Local Code T-4, pertaining to continuity of defense counsel.
10
11 Dated: September 12, 2006                                        /s/ Robert L. Forkner
                                                                   _____________________________
12                                                                 ROBERT L. FORKNER
                                                                   Attorney at Law
13
     Dated: September 12, 2006                                      /s/ Peter Kmeto
14                                                                 _____________________________
                                                                   PETER KMETO
15                                                                 Attorney at Law
16
     Dated: September 12, 2006                                      /s/ Preciliano Martinez
17                                                                 _____________________________
18                                                                 PRECILIANO MARTINEZ
                                                                   Attorney at Law
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20 Dated: September 12, 2006                                        /s/ Daniel Broderick
                                                                   _____________________________
21                                                                 DANIEL BRODERICK
                                                                   Federal Defender
22
     Dated: September 12, 2006                                      /s/ Samuel Wong
23                                                                 _____________________________
                                                                   SAMUEL WONG
24                                                                 Assistant U.S. Attorney
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             Case 2:05-cr-00443-WBS Document 54 Filed 09/14/06 Page 3 of 4


 1                                               ORDER
 2         UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
 3 September 13, 2006 at 9:00 a.m., status conference be vacated and continued to October 11, 2006,
 4 at 9:00 a.m., for all defendants. The Court finds that the ends of justice to be served by granting a
 5 continuance outweigh and the best interests of the public and the defendants in a speedy trial. It is
 6 ordered that time from the date of this stipulation to, and including, the proposed October 11, 2006,
 7 status conference shall be excluded from computation of time within which the trial of this matter
 8 must be commenced under the Speedy Trial Act pursuant to 18 U.S.C. § 3161 (h) (8) and (B) (iv)
 9 and Local Code T-4, pertaining to continuity of defense counsel.
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11 Dated: September 13, 2006
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 1
                               DECLARATION OF ROBERT L. FORKNER
 2           I, ROBERT L. FORKNER, hereby declare under penalty of perjury as follows:
             1.     I am currently counsel for defendant ESPIRIDION VALDOVINOS LUCATERO in
 3   the case of United States v. Epiridion Valdovinos Lucatero, et al., No. Cr S-05-443-WBS.
             2.     A status conference is currently scheduled before this court for September 13, 2006.
 4           3.     The Stanislaus County Superior Court has scheduled a long cause prelim in the matter
     of People v. Rostami, et al. Case No. 1081352 at 8:30 a.m. on September 13, 2006. In that case my
 5   client Benham Rostami is scheduled to testify.
             4.     My client has yet to sign the plea agreement, this is part of the reason why I am
 6   requesting additional time to hire a certified Federal Court interpreter.
             5.     This continuance will provide the time needed to meet and confer with Mr. Lucatero
 7   about the proposed plea agreement.
 8 Dated: September 12, 2006                               /s/ Robert L. Forkner
                                                           ____________________________________
 9                                                         ROBERT L. FORKNER
                                                           Attorney at Law
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